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IN THE UNITED s'rATEs DISTRICT coURT ’”"~'3~"" ‘*>2” -

FoR THE wESTERN DISTRICT oF TENNESSEE» -
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DOUGLAS RICHARDSON, ) WD mr m fw=~'z\}iPHJS
Plaintiff, )
)

V. ) CIVIL ACTION NO. 04-2627~BV

)
GLAXOSMITHKLINE, )
)
)

Defendant.
JOINT ¥RQPQSED MODIFIED Rl

ll F 16{})) QCHEDULING ORDER

___ _ _ _ _____ _____________

Pursuant to a Motion to Modify Schedull`ng Order filed by Plaintiffs and agreement of the

parties, the following dates are proposed to be the final dates for:
l. Initial Disclosures Pursuant to Fed. R. Civ. P. 26(a) (l): Novernber 12, 2004;
2. Joining Parties: December 30, 2004;
3. Amending Pleadings: December 30, 2004;
4. Initial Motions to Dismiss: January 28, 2005;
5. Completing All Discovery: October 21, 2005 ;

(a) DocumentProduction: October 21, 2005;

(b) Interrogatories and Requests for Admissions: May 20, 2005 ;

(c) Depositions of fact witnesses: July ], 2005;

(d) Expert Witness Disclosure (Rule 26):
(i) Disclosure of Plaintiff‘s Rule 26 Expert Information: July 8, 2005 ;
(ii) Depositions of Pla` tiffs Rule 26 Experts: August 26, 2005;

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16 200§iii) Disclosure OfDCfendant'S Rule 26 EXpert Information: S€ptember

(iv) Depositions of Defendant's Rule 26 Experts: October 21, 2005;

6. Depositions for evidence at trial: November 15, 2005 ;
7. File Dispositive Motions: October 21, 2005 ;

8. Other Relevant Matters:

No depositions may be scheduled to occur after the discovery cutoff date except as
indicated All motions, requests for admissions, or other filings that require a response must be
filed sufficiently in advance of the discovery cutoff date to enable opposing counsel to respond

by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within thirty (3 0) days of the default or the service of the response, answer, or objection, which is
the subject of the motion, if the default occurs within thirty (3 0) days of the discovery deadline,
unless the time for filing of such motion is extended for good cause shown, or the objection to

the default, response, answer, or objection shall be waived.

This case is Set for a jury trial. The pretrial order date, pretrial conference date, and trial

date will be set by the presiding judge. Trial is expected to last 7-10 days.

This case is appropriate for ADR. The parties are directed to engage in court-annexed

attorney mediation or private mediation after the close of discovery

Pursuant to Local Rule ll (a)(l)(A), all motions, except motions pursuant to Fed. R. Civ_

P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in this matter. Neither party

may file an additional reply, however, Without leave of the court. lf a party believes that a reply

is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting

forth the reasons for which a reply is required.
The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order will not be modified or

extended

lT lS SO ORDERED.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DATE: d,/wl 12. 2005*
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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CV-02627 was distributed by faX, mail, or direct printing on
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Honorable J_ Breen
US DISTRICT COURT

